                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:19-CV-583-MOC-DCK

 TWIST, INC., and BOOM AIR, LLC,                      )
                                                      )
                 Plaintiffs,                          )
                                                      )
    v.                                                )      ORDER
                                                      )
 B GSE GROUP, LLC,                                    )
                                                      )
                 Defendant.                           )
                                                      )

         THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Stay Pending

Reexamination Proceedings” (Document No. 20) filed April 24, 2020. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will deny the motion.

         Since the pending motion was filed in April 2020, the parties have filed two (2) joint

motions to modify the scheduling order. See (Document Nos. 27 and 29). Those motions have

both been granted, including by the Court’s recent Order moving the case deadlines to early 2021.

See (Document Nos. 28 and 30). On October 9, 2020, the Honorable Max O. Cogburn, Jr. re-set

the Claim Construction/Markman Hearing in this case for March 10, 2021.

         Notably, the parties’ most recent motion reports that they are “exploring a global

settlement” of both this case and another case pending in Ohio. (Document No. 29). The Court

appreciates the parties’ efforts to conserve time and resources and has thus allowed the requested

extension of deadlines.




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       Based on the parties’ motions and the Court’s scheduling orders, however, the undersigned

finds that the pending motion to stay the case is likely moot and should be denied. If the parties’

settlement efforts are not fruitful, they should proceed as they jointly proposed and as directed by

the Court. (Document No. 30).

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Stay Pending

Reexamination Proceedings” (Document No. 20) is DENIED WITHOUT PREJUDICE.


                                Signed: October 19, 2020




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